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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
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                                          )
UNITED STATES OF AMERICA et al.,          )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO et al.,                 )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                              ORDER

       By Order dated August 14, 2023, the court required the parties to propose “updated

redactions to the court’s memorandum opinion, ECF No. 624, by August 18, 2023.” Order,

ECF No. 640, ¶ 4. The court timely received those proposals, which included requests from third

parties to maintain certain portions of the opinion under seal. The court has considered these

requests for continued sealing under the six Hubbard factors. See Metlife, Inc. v. Fin. Stability

Oversight Council, 865 F.3d 661, 665 (D.C. Cir. 2017). Those factors are: “(1) the need for public

access to the documents at issue; (2) the extent of previous public access to the documents; (3) the

fact that someone has objected to disclosure, and the identity of that person; (4) the strength of any

property and privacy interests asserted; (5) the possibility of prejudice to those opposing
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disclosure; and (6) the purposes for which the documents were introduced during the judicial

proceedings.” Id. (quoting EEOC v. Nat’l Children’s Ctr., Inc., 98 F.3d 1406, 1409 (D.C. Cir.

1996)). In weighing these factors, the court has been mindful of the following:

       •    “[T]here is a ‘need for public access’ in those instances where ‘the documents at issue

            [are] ... specifically referred to in the trial judge’s public decision.’” Nat’l Children’s

            Ctr., 98 F.3d at 1409 (quoting United States v. Hubbard, 650 F.2d 293, 318 (D.C. Cir.

            1980)).

       •    Though the “extent of previous public access” is a factor, no party has made a proffer

            as to the public availability of any document or information.

       •    “[W]here a third party’s property and privacy rights are at issue the need for minimizing

            intrusion is especially great . . .” Hubbard, 650 F.3d at 319.

       •    To the extent the court quoted from or cited actual business records, the court presumes

            that such records were produced in discovery and are subject to the protective order.

       •    The possibility of prejudice depends on “the nature of the materials disclosed.” Id. at

            321.

       •    The parties—though not the third parties—intended for the court to consider the cited

            materials by submitting them to the court to support their summary judgment

            arguments. See Nat’l Children’s Ctr., 98 F.3d at 1410.

       The court’s rulings and explanations are set forth below. The fact that the court has not

mentioned a specific factor should not be taken to mean that it has not considered and weighed

every factor, as required. Further, the rulings below pertain only to the summary judgment

opinion. The court is prepared to reconsider them at trial.




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                 considered this self-evaluation, because it is that of a third party that did not
                 present it to the court, the court will permit the redaction for present
                 purposes.
 52 at 18-19     Redaction denied absent further explanation. Branch Metrics seeks to
                 maintain the redaction, but the cited portion simply describes its product in
                 a way that presumably is publicly known. Unless Branch Metrics justifies
                 its request within seven days, the court will unseal this portion of its
                 opinion.
 52 at 20-22     Redaction granted. Although this text was an important feature of the
                 Colorado Plaintiffs’ argument, because it involves the sensitive business
                 decisions of third parties who could be prejudiced by its release, the court
                 will maintain the redaction.
 53 at 1-2       Redaction denied absent further explanation. Branch Metrics seeks to
                 maintain the redaction, but the cited portion simply is a general statement
                 about an argument advanced by the Colorado Plaintiffs. Unless Branch
                 Metrics justifies its request within seven days, the court will unseal this
                 portion of its opinion.
 54 at 7-9       Redaction granted. Microsoft seeks to maintain the redaction, which
                 reflects its own assessment of its market position. Although the court
                 considered this self-evaluation, because it is that of a third party that did not
                 present it to the court, the court will permit the redaction for present
                 purposes.
 56 at 4-5       Redaction granted as it concerns a sensitive financial projection of a third
                 party.
 56 at 7-9       Redaction granted as it concerns a sensitive financial projection of a third
                 party.
 56 at 11-13     Redaction removed by consent.
 57 at 11-13     Redaction denied. Microsoft seeks to maintain the redaction, but the court
                 cannot discern how disclosure would prejudice Microsoft. The sentence
                 contains only a statement about another company’s product and its general
                 impact on Microsoft.




                                                          Amit P. Mehta
Date: September 12, 2023                           United States District Judge




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